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                                         STATE OF NEW YORK
                                  OFFICE OF THE ATTORNEY GENERAL

LETITIA JAMES                                                                            DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                               LITIGATION BUREAU




                                      Writer Direct: (518) 776-2616

                                            November 30, 2023


Honorable David N. Hurd
United States District Judge
Alexander Pirnie Federal Bldg. and U.S. Courthouse
10 Broad Street
Utica, New York 13501

Re:    Dr. A, et al. v. Hochul,
            et al.
        21-CV-1009

Dear Judge Hurd:

        Counsel have executed a Stipulation of Discontinuance in this matter, which is filed
electronically herewith. If the Stipulation meets with your approval, I respectfully request that
you “so-order” it at your earliest convenience.

       Thank you for your consideration of this matter.

                                                                    Sincerely,

                                                                    s/ Ryan W. Hickey
                                                                    Ryan W. Hickey
                                                                    Assistant Attorney General
cc:    Counsel of Record (Via ECF)




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